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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 17-61464-CIV-DIMITROULEAS
  ALFRED CLARK, JR.,
  JASON ADOLPHUS DAVIDS,

         Plaintiffs,
  v.

  NATIONWIDE HVAC CORP,
  ARSEN GRITSENKO,
  LUKASZ KOZOWY,

        Defendants.
  _____________________________________/

           ORDER TO SHOW CAUSE WHY THE COURT SHOULD NOT GRANT
              PLAINTIFFS’ MOTION FOR DEFAULT FINAL JUDGMENT

         THIS CAUSE is before the Court upon Plaintiffs’ Verified Motion for Default Judgment

  and Attorney’s Fees and Costs (the “Motion”) [DE 29], filed herein on July 17, 2018. The Court

  has carefully considered the Motion [DE 29] and is otherwise fully advised in the premises.

         Plaintiffs filed a Complaint on July 24, 2017. [DE 1]. Defendants were served and their

  responses to the Complaint were due on or before June 7, 2018. See [DE’s 20-24]. ]. Plaintiffs

  obtained a Clerk’s Entry of Default against Defendants on June 26, 2018. See [DE 27]. On July

  17, 2018, Plaintiffs filed the instant Motion.

         Accordingly, it is ORDERED AND ADJUDGED that Defendant shall show cause on or

  before July 31, 2018, why the Motion [DE 29] should not be granted. A failure to timely respond

  will result in the immediate entry of a default judgment.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  18th day of July, 2018.
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  Copies furnished to:
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